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JAMES FRANK SEMORA
Bruce Griffey, CJA
Defense Attorney
142 North Third Street, 3rd F|oor
Memphis, TN 38103

 

JUDGMENT |N A CRlM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 & 3 of the indictment on April 11, 2005.
According|yl the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tlt|e & Section L~|it_l_lr_€\?f_fle£§ Offen$e Number S
Concluded

21 U.S.C. § 846 Conspiracy to Nlanufacture in Excess 08/29/2004 1

of 5 grams 01 Methamphetamine
21 U.S.C. § 841 (a)(1) Possession with intent to Distribute in 08/29/2004 3
and Excess of 5 Grams of
18 U.S.C. § 2 Methamphetamine and Aiding and

Abetting

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Counts 2 & 4 are dismissed on the motion of the United States.

|T lS FURTHEFI ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant‘s Soc. Sec. No. XXX-XX-XXXX Date of Imposition of Sentence:
Defendant‘s Date of Birth: 5/5/1972 July 25, 2005
Deft's U.S. Marshal No.: 20134-0076

Defendant‘s Mailing Address:
648 Deen Fioad
Brighton, TN 38100

 

6 l J. DAN\EL BREEN
sTATEs DlsTRicT JuDGE
/
July 'J~\ ,2005

T'nis document entered on the docket shea in comp||ance
with sale e-:~ ana/or 32(b) Fnch on 12 'QQ ;Q"j

 

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Case No: 2:050Fi20009-01-B Defendant Name: James Frank SEMOF\A Page 2 of 4
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 37 Months, as to each count, to be served
concurrent|y.

The Court recommends to the Bureau of Prisons:

- That the defendant participate in a drug treatment program.
- P|acement as close to defendants home, as possible

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:050Ft20009-01-B Defendant Name: James Franl< SE|V|ORA Page 3 of 4

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S\ON

t. the defendant shall not leave the judicial district without the permission of the court or probation officer;

2. the defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. the defendant shall answer truthful all inquiries by the probation officer and follow the instructions of the
probation officer;

4. the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. the defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute. or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. the defendant shall not frequent places where controlled substances are illegally so|d, used, distributed,
or administered; the defendant shall not associate with any persons engaged in criminal activity, and
shall not associate with any person convicted of a felony unless granted permission to do so by the
probation officer;

8. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer;

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Case No: 21050Ft20009-01-B Defendant Name: James Frank SE|V|OFiA Page 4 of 4

10. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. as directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penaities sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPEFWISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in drug testing and treatment as directed by the probation officer.
2) Cooperate in the collection of DNA as directed by the probation officer.

3) Do not incur new credit charges or open additional lines of credit without the approval of the
probation officer.

4) Prcvide the probation officer access to any requested financial information.

CR|M|NAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution
$200.00
The Speciai Assessment shall be due immediateiy.

FlNE
No fine is imposed.

REST|TUT|ON
No restitution was ordered.

ISTRIC COURT - WTERN DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 75 in
case 2:05-CR-20009 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
142 North Third St.

3rd Flccr

Memphis7 TN 38103

Scctt F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honcrable J. Breen
US DISTRICT COURT

